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     5   Attorneys for IRA Resources, Inc., a California corporation
     6
     7
     8                             UNITED STATES DISTRICT COURT
     9                            CENTRAL DISTRICT OF CALIFORNIA
    10                                     SOUTHERN DIVISION
    11
    12   LEONARD A. ALKOV, et al.              ) Case No.: SACV09-764 AG(RBNX)
                                               )
    13                                         )
                        Plaintiffs,            ) DEFENDANT IRA RESOURCES, INC.’S
    14                                         ) COUNTERCLAIM
                                               )
    15          v.                             )
                                               )
    16                                         )
         JOHN ANTHONY MILLER, et al., and DOES )
    17   1 through 10, inclusive,              )
                                               )
    18                                         )
                        Defendants.            )
    19                                         )
         IRA RESOURCES, INC., a California )
    20   corporation,                          )
                                               )
    21                                         )
                        Counter-Complainant,   )
    22                                         )
                v.                             )
    23                                         )
         LEONARD A. ALKOV, et al., and ROES 1 )
    24   through 20, inclusive,                )
                                               )
    25                                         )
                        Counter-Defendants     )
    26                                         )       JURY TRIAL DEMANDED
    27
    28
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     1      TO THE COURT, AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     2      Counter-Complainant IRA Resources, Inc., hereby submits this Counterclaim for causes of action
     3   against Counter-Defendants Michael Cannon; Brenda Cannon; Vibulsri Chunapongse; James K.
     4   Crampton and June Crampton; Thomas Crampton; Vicki Crampton; Hugh G. Evans; Judy A.
     5   Evans; Bernard Germani, Jr.; Sharon D. Groody; Thomas E. Hevesy; Hannelore Hevesy; Larry
     6   Dean Heyl; Susan S. Hodne; Margaret Kuhn; Stephen C. Kuhn; Susan Leslie; Lori McMillan;
     7   William A. McMillan; Arnold Miller and Barbara Miller; Bruce J. Mrosko and Christine J.
     8   Hopkins; Robert C. Pace; Ann Rosas; Dixon Rosas; Gregory S. Saryan and Derouhe Saryan; and
     9   Jennifer Uranga and ROES 1 through 20, inclusive. Counter-Complainant hereby states and alleges
    10   as follows:
    11
    12                                              Parties
    13       1. Counter-Complainant IRA Resources, Inc., (IRA Resources) is now, and at all times
    14   mentioned herein was, a corporation, organized and existing under the laws of the State of
    15   California, and doing business within the County of San Diego, State of California.
    16       2. Upon information and belief, Counter-Defendant Michael Cannon (M. Cannon) is an
    17   individual whose primary residence is in the State of South Carolina. M. Cannon is a named
    18   plaintiff in this action.
    19       3.   Upon information and belief, Counter-Defendant Brenda Cannon (B. Cannon) is an
    20   individual whose primary place of residence is in the State of South Carolina. B. Cannon is a
    21   named plaintiff in this action.
    22       4. Upon information and belief, Counter-Defendant Vibulsri Chunapongse (Chunapongse) is
    23   an individual whose primary place of residence is in Los Angeles County, California. Chunapongse
    24   is a named plaintiff in this action.
    25       5. Upon information and belief, Counter-Defendant James K. Crampton and June Crampton
    26   (collectively “Crampton”) are husband and wife whose primary place of residence is in Los Angeles
    27   County, California. Crampton is a named plaintiff in this action.
    28       6. Upon information and belief, Counter-Defendant Thomas Crampton (T. Crampton) is an

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     1   individual whose primary place of residence is in the State of Oregon. T. Crampton is a named
     2   plaintiff in this action.
     3       7. Upon information and belief, Counter-Defendant Vicki Crampton (V. Crampton) is an
     4   individual whose primary place of residence is in the State of Oregon. V. Crampton is a named
     5   plaintiff in this action.
     6       8. Upon information and belief, Counter-Defendant Hugh G. Evans (H. Evans) is an individual
     7   whose primary place of residence is in Shasta County, California. H. Evans is a named plaintiff in
     8   this action.
     9       9. Upon information and belief, Counter-Defendant Judy A. Evans (J. Evans) is an individual
    10   whose primary place of residence is in Shasta County, California. J. Evans is a named plaintiff in
    11   this action.
    12       10. Upon information and belief, Counter-Defendant Bernard Germani, Jr. (Germani) is an
    13   individual whose primary place of residence is in Los Angeles County, California. Germani is a
    14   named plaintiff in this action.
    15       11. Upon information and belief, Counter-Defendant Sharon D. Groody (Groody) is an
    16   individual whose primary place of residence is in Riverside County, California. Groody is a named
    17   plaintiff in this action.
    18       12. Upon information and belief, Counter-Defendant Thomas E. Hevesy (T. Hevesy) is an
    19   individual whose primary place of residence is in San Diego County, California. T. Hevesy is a
    20   named plaintiff in this action.
    21       13. Upon information and belief, Counter-Defendant Hannelore Hevesy (H. Hevesy) is an
    22   individual whose primary place of residence is in San Diego County, California. H. Hevesy is a
    23   named plaintiff in this action.
    24       14. Upon information and belief, Counter-Defendant Larry Dean Heyl (Heyl) is an individual
    25   whose primary place of residence is in Orange County, California. Heyl is a named plaintiff in this
    26   action.
    27       15. Upon information and belief, Counter-Defendant Susan S. Hodne (S. Hodne) is an
    28   individual whose primary place of residence is in Los Angeles County, California. S. Hodne is a

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     1   named plaintiff in this action.
     2       16. Upon information and belief, Counter-Defendant Margaret Kuhn (M. Kuhn) is an individual
     3   whose primary place of residence is in San Diego County, California. M. Kuhn is a named plaintiff
     4   in this action.
     5       17. Upon information and belief, Counter-Defendant Stephen C. Kuhn (S. Kuhn) is an
     6   individual whose primary place of residence is in San Diego County, California. S. Kuhn is a
     7   named plaintiff in this action.
     8       18. Upon information and belief, Counter-Defendant Susan Leslie (Leslie) is an individual
     9   whose primary place of residence is in San Diego County, California. Leslie is a named plaintiff
    10   in this action.
    11       19. Upon information and belief, Counter-Defendant Lori McMillan (L. McMillan) is an
    12   individual whose primary place of residence is in Santa Clara County, California. L. McMillan is
    13   a named plaintiff in this action.
    14       20. Upon information and belief, Counter-Defendant William A. McMillan (W. McMillan) is
    15   an individual whose primary place of residence is in Santa Clara County, California. W. McMillan
    16   is a named plaintiff in this action.
    17       21. Upon information and belief, Counter-Defendant Arnold Miller and Barbara Miller
    18   (collectively “Miller”) are husband and wife whose primary place of residence is in San Diego
    19   County, California. Miller is a named plaintiff in this action.
    20       22. Upon information and belief, Counter-Defendant Bruce J. Mrosko and Christine J. Hopkins
    21   (collectively “Mrosko”) are husband and wife whose primary place of residence is in Oceanside,
    22   San Diego County, California. Mrosko is a named plaintiff in this action.
    23       23. Upon information and belief, Counter-Defendant Robert C. Pace (Pace) is an individual
    24   whose primary place of residence is in Orange County, California. Pace is a named plaintiff in this
    25   action.
    26       24. Upon information and belief, Counter-Defendant Ann Rosas (A. Rosas) is an individual
    27   whose primary place of residence is in Orange County, California. A. Rosas is a named plaintiff
    28   in this action.

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     1       25. Upon information and belief, Counter-Defendant Dixon Rosas (D. Rosas) is an individual
     2   whose primary place of residence is in Orange County, California. D. Rosas is a named plaintiff
     3   in this action.
     4       26. Upon information and belief, Counter-Defendant Gregory S. Saryan and Derouhe Saryan
     5   (collectively “Saryan”) are husband and wife whose primary place of residence is in Los Angeles
     6   County, California. Saryan is a named plaintiff in this action.
     7       27. Upon information and belief, Counter-Defendant Jennifer Uranga (Uranga) is an individual
     8   whose primary place of residence is in Los Angeles County, California. Uranga is a named plaintiff
     9   in this action.
    10       28. At all times relevant hereto, Counter-Defendants ROES 1 through 20, inclusive, whether
    11   individual, corporate, an association or otherwise, are fictitious names of Counter-Defendants
    12   whose true names and capacities are, at this time, unknown to Counter-Complainant.
    13   Counter-Complainant is informed and believe, and on this basis alleges, that at all times herein
    14   mentioned, each of these Counter-Defendants sued herein as a ROE was acting for himself, herself,
    15   or itself or as the agent, servant and/or employee of his or her or its Co-Counter-Defendants.
    16   Counter-Complainant is additionally informed and believes, and on that basis alleges, that each of
    17   said fictitiously-named Counter-Defendants, whether acting for himself, herself, itself or as an
    18   agent, corporation, association, joint venturer or otherwise, is in some way liable or responsible to
    19   the investors holding fractionalized interests in deeds of trust secured by the properties subject to
    20   this litigation, as described below, on the facts hereinafter alleged, and proximately caused the
    21   damages as alleged hereafter in this complaint. At such time as said Counter-Defendants' true
    22   names become known to Counter-Complainant, Counter-Complainant will ask leave of this court
    23   to amend this complaint to insert said true names and capacities.
    24       29. Upon information and belief, Counter-Complainant alleges that at all times herein
    25   mentioned, Counter-Defendants, including ROES 1 through 20, and each of them, were acting as
    26   the agents, servants and employees of each other, and were acting within the full course and scope
    27   of their employment, and with the permission and consent of the other Co-Counter-Defendants and
    28   each of them.

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     1                                    General Allegations
     2       30. Counter-Complainant IRA Resources is an administrator for self-directed retirement plans.
     3   An administrator is a company that offers record keeping for individual retirement accounts. It
     4   provides account record keeping and administration to individuals who want to have a self-directed
     5   IRA. It operates within a federal scheme codified in Section 408(a) of the Internal Revenue Code
     6   that allows individuals to hold their investments tax free as long as they have someone, like IRA
     7   Resources, administer their investments. The Internal Revenue Service does not allow an individual
     8   to do their own record keeping. It must be done by a third party who keeps track of the individual
     9   retirement account and completes all of the required reporting to the IRS in order to keep the money
    10   in a tax-deferred status.
    11       31. IRA Resources’ clients, including Counter-Defendants, expressly acknowledge that they are
    12   solely responsible for their investment decisions, IRA Resources' services do not include
    13   performing a due diligence of investments and that due diligence is their sole responsibility, that
    14   IRA Resources does not endorse or solicit any investments, and the clients agree to indemnify and
    15   hold IRA Resources harmless for any investments loses. The individuals come to IRA Resources
    16   with their investments, IRA Resources administers the investments and receives a minimal
    17   administration fee.
    18       32. Counter-Complainant IRA Resources' procedure is that it receives at its office in San Diego,
    19   California completed contract forms, including, account application and investment directive from
    20   a person (i.e., participant) desiring to open a self-directed individual retirement account in
    21   accordance with Section 408(a) of the Internal Revenue Code. Counter-Complainant IRA
    22   Resources reviews the contract forms for completeness. If properly completed, and the proposed
    23   investment is not prohibited as defined by the Internal Revenue Service, Counter-Complainant IRA
    24   Resources then accepts the application and agrees to act as the administrator of the participant's
    25   self-directed individual retirement account. Counter-Complainant IRA Resources followed this
    26   procedure in opening accounts for each of the Counter-Defendants. After opening the accounts, per
    27   the contracts, Counter-Complainant IRA Resources acted as a mere passive administrator of the
    28   Counter-Defendants’ self-directed retirement accounts; Counter-Defendants were solely responsible

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     1   for all investment decisions.
     2      33. Counter-Complainant IRA Resources entered into written contracts with the Counter-
     3   Defendants to provide self-directed plan record keeping services for their self-directed accounts.
     4   The written contracts expressly defined Counter-Complainant IRA Resources’s role with respect
     5   to the Counter-Defendants as a mere administrator. As acknowledged by the Counter-Defendants,
     6   Counter-Complainant IRA Resources did not provide any investment advice; did not promote any
     7   investments; and did not review or conduct any due diligence concerning the advisability or
     8   suitability of any investment. Instead, as acknowledged in their written contracts, the Counter-
     9   Defendants made their own investment decisions and assumed full responsibility for the success
    10   or failure of their self-selected investments.
    11      34. The Counter-Defendants have expressly agreed to release, indemnify, defend, and hold
    12   Counter-Complainant IRA Resources harmless from any losses that they sustained as a result of
    13   IRA Resources following their investment directives and administering their self-directed accounts.
    14   The written agreements that Counter-Complainant entered into with Counter-Defendants limited
    15   Counter-Complainant’s duties to Counter-Defendants. The Counter-Defendants acknowledged that
    16   Counter-Complainant had no duty to investigate, select or monitor Counter-Defendants’
    17   investments and would indemnify and hold Counter-Complainant harmless from any liability for
    18   losses that Counter-Defendants suffered related to their self-directed investments. The written
    19   agreements repeatedly advised that Counter-Defendants were to make their own investment choices,
    20   and that Counter-Complainant would carry out direct written investment instructions and account
    21   for Counter-Defendants’ funds in its possession, but undertook no responsibility for the soundness
    22   of the investment choice or the performance of the investment. Counter-Complainant retained no
    23   discretion as to Counter-Defendants’ choice of investment, nor any responsibility for advising about
    24   the risk of any investments. Those functions were expressly excluded from their relationship, and
    25   allocated to Counter-Defendants as part of Counter-Defendants’ authority to self-direct their
    26   accounts. The relationship was confined to Counter-Complainant’s record keeping performance
    27   of transactions selected by the Counter-Defendants; Counter-Complainant had no responsibility to
    28   advise Counter-Defendants with regard to the wisdom of their investment choices.

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     1                                     First Cause of Action
     2                                         BREACH OF CONTRACT
     3                                  (Against all Counter-Defendants)
     4       35. Counter-Complainant realleges and incorporates by reference all succeeding and previous
     5   paragraphs as though alleged in full in this cause of action.
     6       36. Each of the Counter-Defendants entered into a contract with Counter-Complainant IRA
     7   Resources to administer their self-directed individual retirement account.               The contractual
     8   relationship between Counter-Complainant and Counter-Defendants was comprised of several
     9   written agreements. Since these agreements relate to the same matters, between the same parties,
    10   they are parts of one transaction and are to be taken together.        Pursuant to these agreements,
    11   Counter-Defendants entered into a contract with Counter-Complainant IRA Resources to administer
    12   their self-directed individual retirement account.
    13       37. Pursuant to their contracts, Counter-Defendants agreed that IRA Resources assumed no
    14   responsibility—express or implied—for any loss or diminution of their self–directed individual
    15   retirement account, and expressly agreed to indemnify and hold harmless IRA Resources without
    16   limitation against any and all losses, costs, expenses, or liabilities of any nature whatsoever incurred
    17   as a result of IRA Resource's execution of Counter-Defendants’ investment instructions.
    18       38. Under the terms of their contracts, Counter-Defendants directed that any contributions they
    19   made to their self-directed IRA account were to be deposited by IRA Resources to a custodial
    20   account until such time as they delivered to IRA Resources investment instructions to the contrary.
    21   Counter-Defendants further agreed to be solely responsible for all investment decisions they made
    22   and to indemnify and hold harmless IRA Resources for any losses that they might incur as a result,
    23   direct or indirect, of IRA Resources' execution of their investment instructions.
    24       39. Pursuant to the account application agreements that Counter-Defendants signed, Counter-
    25   Defendants acknowledged that investment decisions that they made were solely their responsibility,
    26   that Counter-Complainant offered no investment advise or endorsement, that Counter-Complainant
    27   would have no liability, responsibility, or fiduciary role related to Counter-Defendants’ investment
    28   selections, including suitability or performance of the investments, compliance with any state or

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     1   federal law or regulation, income or expense, or preservation of capital or income, and that
     2   Counter-Defendants would indemnify and hold harmless Counter-Complainant.
     3      40. Pursuant to the plan document under which the Counter-Defendants’ individual account was
     4   established as referred to in the application agreements, Counter-Defendants acknowledged that
     5   Counter-Complainant assumed no responsibility for any loss related to Counter-Defendants’
     6   investment choices and that Counter-Defendants would indemnify and hold Counter-Complainant
     7   harmless without limitation against all loses, costs, expenses or liabilities of any nature whatsoever
     8   incurred as a result of Counter-Complainant following Counter-Defendant’s investment
     9   instructions.
    10      41. Thereafter, Counter-Defendants completed a transfer request regarding opening their
    11   account with Counter-Complainant. In that agreement, Counter-Defendants expressly agreed to
    12   hold Counter-Complainant harmless from any liability.
    13      42. Counter-Defendants then executed written investment instructions directing IRA Resources
    14   to invest their funds. In that agreement, Counter-Defendants again confirmed that Counter-
    15   Complainant had not solicited Counter-Defendant, that Counter-Defendant was solely responsible
    16   for the investment, and Counter-Defendant would hold Counter-Complainant harmless from any
    17   losses.
    18      43. Counter-Defendants have sued Counter-Complainant IRA Resources in the present lawsuit
    19   alleging damages because they allegedly lost their investments.
    20      44. Counter-Defendants breached their contracts by filing suit against Counter-Complainant
    21   IRA Resources and seeking to hold IRA Resources liable for alleged losses that they incurred as a
    22   result of their investments.
    23      45. Despite Counter-Defendants’ breach of their contracts, Counter-Complainant IRA
    24   Resources has performed and continues to fully perform all its obligations under the contracts,
    25   except those obligations that Counter-Complainant was prevented or excused from performing.
    26      46. As a direct and proximate result of Counter-Defendants’ breach of their contracts, Counter-
    27   Complainant IRA Resources is entitled to recover from Counter-Defendants all damages incurred
    28   by IRA Resources as a result of the present action, which damages are in an amount within the

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     1   jurisdiction of this court and to be proven at trial.
     2
     3                                  Second Cause of Action
     4                                          Promissory Estoppel
     5                                  (Against all Counter-Defendants)
     6         47. Counter-Complainant realleges and incorporates by reference all succeeding and previous
     7   paragraphs as though alleged in full in this cause of action.
     8         48. Counter-Defendants entered into a contract with Counter-Complainant IRA Resources to
     9   administer their self-directed individual retirement accounts.
    10         49. Pursuant to their contracts, Counter-Defendants agreed that IRA Resources assumed no
    11   responsibility—express or implied—for any loss or diminution of their self–directed individual
    12   retirement account, and expressly agreed to indemnify and hold harmless IRA Resources without
    13   limitation against any and all losses, costs, expenses, or liabilities of any nature whatsoever incurred
    14   as a result of IRA Resource's execution of Counter-Defendants’ investment instructions.
    15         50. Counter-Complainant relied on Counter-Defendants’ promise.
    16         51. Counter-Complainant’s reliance on the promise was reasonable and foreseeable.
    17         52. Counter-Defendants breached the promise by filing suit against Counter-Complainant IRA
    18   Resources and seeking to hold Counter-Complainant IRA Resources liable for alleged losses that
    19   they incurred as a result of their investments.
    20         53. Counter-Complainant has been damaged as a result of Counter-Complainant’s reliance on
    21   Counter-Defendants’ promise.
    22         54. An injustice can be avoided only by enforcement of the promise.
    23         55. As a result of Counter-Defendants’ breach of his promise, IRA Resources is entitled to
    24   recover from Counter-Defendants all damages incurred by IRA Resources as a result of the present
    25   action filed by Counter-Defendants, which damages are in an amount within the jurisdiction of this
    26   court and to be proven at trial.
    27   ///
    28   ///

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     1                                       Prayer for Relief
     2     WHEREFORE, Counter-Complainant prays for judgment as follows:
     3     1.   That        Plaintiffs/Counter-Defendants’       complaint       be     dismissed         and      that
     4   Plaintiffs/Counter-Defendants have and recover nothing from Defendant/Counter-Complainant;
     5     2.   That    judgment     be   entered   in   favor    of   Counter-Complainant             and      against
     6   Plaintiffs/Counter-Defendants in an amount to be proven at trial, including judgment that Counter-
     7   Defendants are obligated to indemnify Counter-Complainant for all expenses incurred by Counter-
     8   Complainant as a result of Counter-Defendants’ lawsuit;
     9     3.   Compensatory damages;
    10     4.   That Counter-Complainant be awarded its attorneys' fees;
    11     5.   That Counter-Complainant be awarded its costs and expenses of suit; and
    12     6.   For such other and further relief as the court may deem just and proper.
    13
    14                                         SPARBER RUDOLPH ANNEN
    15
         Dated: October 25, 2009               By: /s/
    16                                            Richard J. Annen, Esq. (SB #91956)
                                                  Todd R. Gabriel, Esq. (SB #119750)
    17                                            Attorneys for Defendant/Counter-Complaint IRA
                                                  Resources, Inc.
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     1                                Demand for Jury Trial
     2     Defendant IRA Resources, Inc., hereby demands a jury trial as provided by Federal Rules of
     3   Civil Procedure 38.
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     1                                   DECLARATION OF SERVICE
     2     The undersigned declares as follows:
     3      I am employed with Sparber Rudolph Annen APLC, whose address is 701 “B” Street,
         Suite 1000, San Diego, California 92116. I am over the age of eighteen and not a party to
     4   this action.
     5     On the date shown below, I served the following document(s):
     6   1. Defendant IRA RESOURCES, INC.’S Defendant IRA RESOURCES, INC.’S
            COUNTERCLAIM
     7
         ( / ) BY ELECTRONIC FILING AND MAIL: Documents were served by electronic mail
     8   pursuant to United States District Court Central District of California, Southern Division Electronic
         Case Filing Administrative Policies and Procedures to the electronic mail address listed below:
     9
           William L. Buus, Esq.
    10     Buus Kim Kuo & Tran APC
           4675 MacArthur Court, Suite 560
    11     Newport Beach, CA 92660
           Telephone: (949) 863-9782
    12     Facsimile: (949) 863-9783
           E-mail:    bbus@bkktlaw.com
    13
         ( / ) STATE: I certify under penalty of perjury under the laws of the State of California that the
    14   foregoing is true and correct.
    15     Executed on October 25, 2009, at San Diego, California.
    16
    17                                    /s/
                                        Todd R. Gabriel
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